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                                                           Exhibit A to the Complaint
Location: Parker, CO                                                                                      IP Address: 76.25.113.9
Total Works Infringed: 70                                                                                 ISP: Comcast Cable
 Work      Hashes                                                                  UTC             Site          Published     Registered   Registration
 1         Info Hash: 475E0C7EC58EC89C15DE077BF6AF8D59F540D8E6                            03-25-   Blacked       03-25-2023    04-07-2023   PA0002405756
           File Hash:                                                                       2023
           EA7C1569CC9AE9AA9EBFB253DD53107E9C34A737304A47E4639A3E062D9D904D             19:19:26
 2         Info Hash: 10976E0245DE5FFAD9208CA36265E2638FDC16A9                            03-16-   Tushy         03-12-2023    04-07-2023   PA0002405752
           File Hash:                                                                       2023
           6340F2F1C4CA8BBCE26131EB044A02CC9AA0E4E7755B6715CB1F09202043D6B5             17:30:22
 3         Info Hash: E1DC17F1E6B165394C514C08B55A305613F4AAE6                            02-27-   Blacked       02-23-2023    03-06-2023   PA0002399998
           File Hash:                                                                       2023   Raw
           FB14B0202BB679BDE513466782E98A1BE16635DF06633F94D5D6390605FA2618             19:48:19
 4         Info Hash: FC410948B338D40F3B1DCE403421F33C3ED92657                            02-27-   Tushy         02-26-2023    03-06-2023   PA0002399996
           File Hash:                                                                       2023
           E2136791486C2A4F15153066D28D42854CED163E789DAA466D5D83F651968D6B             19:47:27
 5         Info Hash: 642302AF292A92951399C47977376BC5AC5ED299                            02-04-   Vixen         02-03-2023    03-07-2023   PA0002400312
           File Hash:                                                                       2023
           313EC5C02C7934FC40B3B14246153E2E03D286A050576B29AEF965B2D1325C16             06:42:40
 6         Info Hash: 37ED7C76E4800AF6C013D848C5ACED9CF6AD1DF5                            01-15-   Blacked       01-14-2023    01-27-2023   PA0002393084
           File Hash:                                                                       2023   Raw
           F1DEF6424F0662399CB883F37D62B388FBF8E1AFABEC3F799391449D48753880             00:40:29
 7         Info Hash: B22A7C436E58C0FFA78DF7DFF1FC7CB5B00AAEBB                            01-02-   Blacked       12-30-2022    01-09-2023   PA0002389573
           File Hash:                                                                       2023   Raw
           B22858E0F5E12664E5B713F908BA3A2F90D228F6795CB87A93F54407DD7158E2             18:51:08
 8         Info Hash: C007925479E9CAE8464CB50F5733191C0EC1764A                            01-02-   Vixen         12-30-2022    01-10-2023   PA0002389585
           File Hash:                                                                       2023
           34B99FCF3503E925DA02EB09DA25808E24D5EB62BCE0402C837DB758CDAE249C             01:49:16
 9         Info Hash: 69BD5CB4F63C733B9D347C0E8BD4E04E705AABAB                            12-27-   Blacked       12-26-2017    01-24-2018   PA0002101758
           File Hash:                                                                       2022
           18703E9AE0A5AFC9BE69FB05460D208EB6D346C51047F8784B5D6F94ED9B058B             19:07:22
 10        Info Hash: F32615CF72189CDD69E6151E4903AC651D3A7063                            12-22-   Blacked       07-04-2022    07-22-2022   PA0002359466
           File Hash:                                                                       2022   Raw
           6891E3B37E52096A272BBC88EDD1A35D8021ED2711AB1A0858FAA335BDE45B8A             00:56:28
 11        Info Hash: 4368CEB3E5FF38A1C470567809749330E437E6F9                            10-30-   Blacked       10-29-2022    01-06-2023   PA0002394016
           File Hash:                                                                       2022
           D7B8053DD39EC814BE266985146199F46F26B259AFEC19AAFFF7755264DE9C73             00:24:36
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Work   Hashes                                                             UTC         Site      Published    Registered   Registration
12     Info Hash: 85815F97AB1CB9A3969EEB4E7C9990040E45B2CD                   10-14-   Vixen     10-14-2022   10-31-2022   PA0002377830
       File Hash:                                                              2022
       751ECF7DB832ADABA8ADBCA615A30E2C9E14C158008CFE300F2BA7FC251905CB    22:09:48
13     Info Hash: CF344B3042DCAD24E21B955C9206EB79216612B1                   10-03-   Blacked   10-01-2022   10-31-2022   PA0002377811
       File Hash:                                                              2022   Raw
       3A0EEF200C8434AE7CFEF3AFD8948F4098A564D26947A116BB874717C5F636F9    17:34:07
14     Info Hash: C20EA351BB316CBF2DC35ADB71846A2E49352ACB                   08-21-   Vixen     08-19-2022   08-30-2022   PA0002367752
       File Hash:                                                              2022
       FD734D04BB084B82492FB2B26BB9EA993DAC49FEC7A01E646428AD8DC060F7B1    16:27:30
15     Info Hash: 62A0A8CEB78BEA0E95503C15DAC11F14BCC004BB                   08-16-   Tushy     08-14-2022   08-30-2022   PA0002367744
       File Hash:                                                              2022
       548DA8EE545334AC17C23DAFE402821842F7C901F8B20CAE72FB075A2EC9441B    04:10:34
16     Info Hash: 8D084151BC3BB0184A284913F8756A95942EC720                   07-20-   Tushy     07-17-2022   07-22-2022   PA0002359476
       File Hash:                                                              2022
       55006DE9A9044C14737EFE43D27A79D43DD51BCD53A887462B4B898E7CA1B9BD    17:42:20
17     Info Hash: 7C5664503A6507504F1DD34CF346C34C843E29E1                   06-20-   Blacked   06-18-2022   06-27-2022   PA0002355032
       File Hash:                                                              2022
       B4C3341D97F538C2E474C49482AE121A378BAB847204DD5013AD20E9BC5CBA8A    17:54:41
18     Info Hash: DFC8BD304F9C774902F9E41F470D5FEFDA243931                   06-15-   Blacked   06-13-2022   06-27-2022   PA0002354983
       File Hash:                                                              2022   Raw
       E7579D0E2BB006B32A54844FAE6165D050C6629193092DEA4E0BBBDE05B6A9DE    23:51:23
19     Info Hash: 667D183DC46864A9E712095A85552E0EAF6A6115                   06-07-   Blacked   06-06-2022   06-27-2022   PA0002355038
       File Hash:                                                              2022   Raw
       B5229ABC51DAA095B400E7BFC6AF029E2AAF08C64BF1CCE74213ED8AF8010BF2    23:42:54
20     Info Hash: AD70ACCBE92DF20D88663B12A5E7947F44737014                   05-15-   Blacked   05-14-2022   05-20-2022   PA0002350380
       File Hash:                                                              2022
       BD82323E1CA203478828B46B4004766F774791C6EDCE6FE57B98B6E3DD3EE0C6    15:05:08
21     Info Hash: 76254F2E6E895357257DB374839FB6B0D31EE525                   05-08-   Vixen     05-06-2022   05-20-2022   PA0002350383
       File Hash:                                                              2022
       3CC09759839BF770EEF7055DDCBF3949D46A0A36DF03F2D98650E0D7680D6E99    14:06:39
22     Info Hash: DEE51D0DCBE476C087C2FBFC6FD3265A0630E4A8                   05-02-   Blacked   04-30-2022   05-20-2022   PA0002350385
       File Hash:                                                              2022
       47335489F0CF63B02ADB32671381D366A9A5EA8A8FBC105A05423CC419DCEFF6    23:12:55
23     Info Hash: D93E7A2150B84861096407A9CABB85144D6DA4EC                   04-28-   Blacked   05-27-2019   06-13-2019   PA0002180951
       File Hash:                                                              2022   Raw
       7181F8C850321C93A227560AC549BC5E49DAB521BB9974A950DF7FA6EE4E28C1    23:48:57
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Work   Hashes                                                             UTC         Site      Published    Registered   Registration
24     Info Hash: 34F54A5FA7A7B73FBBE7AC8C2502DD9CAB334ABA                   04-17-   Blacked   04-16-2022   04-23-2022   PA0002346424
       File Hash:                                                              2022
       85CD1136215B89FE85060DA735A41FCF95B3255AACE5DA1883E1E79E1CE0E927    16:13:39
25     Info Hash: 0E913315A3973DF6AD0BE9876D15FAB2DDF9D30E                   03-14-   Vixen     03-11-2022   04-21-2022   PA0002353783
       File Hash:                                                              2022
       63CD2C0A12F13494CF43FAF9B20A8DEAFF89DEB397B07172243EF45320B35E38    03:23:19
26     Info Hash: 117CA95ECA49CAFAEFB42B0B343C6631B6B37BBD                   03-09-   Vixen     03-04-2022   03-29-2022   PA0002342709
       File Hash:                                                              2022
       9746EDC3063F53EBE110CFCB65D94D0E48DE56AC10EDD87A90C772E2648142ED    22:56:55
27     Info Hash: 540D644F7CF4DC47791772863E6BA03A72606F6D                   02-15-   Blacked   02-12-2022   02-14-2022   PA0002335505
       File Hash:                                                              2022
       F978C6F42E86569866612143F5CEA150485BFF0DB9B90999F20D4408700E2B1D    20:46:04
28     Info Hash: 090E17DEA144E183C365B32787317CAD5B4EE7F2                   02-13-   Blacked   01-22-2022   02-14-2022   PA0002335440
       File Hash:                                                              2022
       F75DD1D09704CF916B138ACC1CD55B1D291C6CDD60E5D83419A74D61AF7978DB    16:23:53
29     Info Hash: 1E9C5482FF7715E0E6080C60ECC7D12D17649F31                   01-30-   Vixen     01-28-2022   03-04-2022   PA0002345791
       File Hash:                                                              2022
       8BEC7BF1FF5E95F7E45CDC403D192D0CD4150A9EDDF36D76DF0B4311F2AB6572    08:19:21
30     Info Hash: A135016A510AB51A73CB7894372786888014584A                   01-01-   Blacked   10-04-2019   10-21-2019   PA0002207780
       File Hash:                                                              2022   Raw
       7B6C1BC19C3F1C388B9BD35ED3627911079B90B527F788214C05E26B39AD6DEA    16:29:15
31     Info Hash: 4840754257C9663A9DE1402B921F8823383F24D3                   12-26-   Vixen     12-24-2021   01-17-2022   PA0002330122
       File Hash:                                                              2021
       670980E86652057C5DC70AA7DC040362C9D7FB658C7B62E55400B0A0F317B3EE    11:29:48
32     Info Hash: 4665C82DE8A7CA83557C6C9FAAC5C3FB08A40868                   12-09-   Blacked   12-06-2021   12-13-2021   PA0002325836
       File Hash:                                                              2021   Raw
       28206F8C2A899D1A14BD86A5AD73A826ECD1BEE8CB59FB97471588DD54FAB5BF    12:38:15
33     Info Hash: 0E4CACEDCCDF0CEAF44A2BE0EC857587D35EA57A                   11-22-   Blacked   11-20-2021   12-09-2021   PA0002325817
       File Hash:                                                              2021
       CE825ED8394023946EA5073AD8CD9A7095F4B9B6F597C02D4CB498375948662B    16:13:10
34     Info Hash: C57E4496CC569AFF5CAF447E7FF7B63A0908A4CF                   10-04-   Blacked   02-04-2020   02-20-2020   PA0002229052
       File Hash:                                                              2021
       33923DD0D0609DEFC1E066EEFD7E06F87509C7EBA0DC17E74C884F3AC66C91B1    10:38:06
35     Info Hash: 04171A75BF71DAC2FA9319D8E9A89D663787730F                   09-28-   Tushy     09-26-2021   10-19-2021   PA0002317053
       File Hash:                                                              2021
       32E1D19036B955EFCFE0880AA91B6C869A844190B04E3704B0D8A9AA71ECC2C5    14:12:23
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Work   Hashes                                                             UTC         Site      Published    Registered   Registration
36     Info Hash: 79EB18A80F8F7B70B6FC858C3BFEB0A8370A4750                   09-14-   Tushy     09-13-2021   10-05-2021   PA0002315290
       File Hash:                                                              2021
       396B87E2FEA3DF0FB8D82C85F5E46D2E71751FD042162C4D755BC4793A645C9F    11:59:45
37     Info Hash: 062215626C7F3ABD8EAF39A7230075DD43CF13A7                   08-09-   Blacked   05-11-2020   06-08-2020   PA0002243646
       File Hash:                                                              2021   Raw
       7C0286924589063E7ED5B4F32A997B453151535C4F676F0D1E25A63F9E5C14FC    16:53:25
38     Info Hash: 74964D3B38DB0C336AE21C64536CCC10081EBDDF                   07-02-   Blacked   06-28-2021   07-08-2021   PA0002300664
       File Hash:                                                              2021   Raw
       296984FF61F9590FBD6049CF61271D6BFAE9D17CD3D76DAA5B4CAFD611B822C4    02:08:34
39     Info Hash: 60F18AC1EA37D85F5F3C247B27BB5AE3E9D8B864                   06-08-   Vixen     05-21-2021   06-03-2021   PA0002299688
       File Hash:                                                              2021
       EEA4DE3745C064D84C1EE9A20305439DFD94517DDAC0C5ED1C2A635809EDC6CA    12:05:44
40     Info Hash: 96F2A2FE54897C6976D99571A34F3D62FA7BFC40                   05-31-   Blacked   05-15-2021   06-09-2021   PA0002295594
       File Hash:                                                              2021
       B0ABB2EA184172B37654EB0615A31E39CFE0E51A68B97C7F3A549363D5362508    15:22:38
41     Info Hash: 846B05E2B96675A7BC351F8EBDDDCC4803764E6C                   05-01-   Tushy     04-25-2021   06-09-2021   PA0002295582
       File Hash:                                                              2021
       95812A21AE7EFD973AF7380CE9DB99CE1C25EEF7C88DD1A31C716D2D6F9E1E9D    11:53:33
42     Info Hash: 75EACE9CA719288B52B64D4D05A349BAA09542B2                   03-31-   Blacked   03-29-2021   04-14-2021   PA0002286726
       File Hash:                                                              2021   Raw
       8789678992DCF14336251C54773CBD716197010477909F5BD6930C47A9F234E8    12:40:13
43     Info Hash: 291FBDCCB166E2B3BABD1BBBEDC629EC375EEB32                   03-26-   Blacked   11-16-2018   11-25-2018   PA0002136637
       File Hash:                                                              2021
       953B4FA05464C77F34EA401CB5807830535C64655212BEFFD41DC609249E6C56    12:44:25
44     Info Hash: 12A99808A140787E996465A4E0FF5CEE81E1B235                   03-23-   Tushy     03-07-2021   03-22-2021   PA0002282503
       File Hash:                                                              2021
       ADF52846FDA2D0B5E56E954ABF6BEDC4B2EBD1C155979440218310D60C0FF4D2    02:32:36
45     Info Hash: E0805C7C54BD9B9777F151B670B78A4D50290951                   03-05-   Blacked   05-10-2018   05-24-2018   PA0002101376
       File Hash:                                                              2021
       2451AEF8181351CC573FE3F94B27891F2B4BA32C456BEB3E0B757E37AF34F1FE    03:13:49
46     Info Hash: 8FA3CA33BA6C045B4C5C47B69541A86376772F6C                   02-24-   Vixen     01-22-2021   02-26-2021   PA0002283698
       File Hash:                                                              2021
       871FEC79ED5A2B2D246C3346AD3C02BBD95C1E28D1A81DF416B735D553F314ED    02:34:10
47     Info Hash: 67BB81139DFBD3A98034C4224195548D0DE9614E                   02-10-   Tushy     02-07-2021   03-08-2021   PA0002280362
       File Hash:                                                              2021
       2C9EED4B71C275590E98182B0965B6D28C98B7F76DFF73FCAC96E49AB3AD3824    12:55:08
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Work   Hashes                                                             UTC         Site      Published    Registered   Registration
48     Info Hash: 67240CE0F42C9777588909086239ABE908B5030A                   02-10-   Blacked   02-06-2021   03-08-2021   PA0002280372
       File Hash:                                                              2021
       04CA4329B75F3F75ABC66A751B7820B57C4F956A749EA82616FC05382A887E9A    03:16:09
49     Info Hash: 1018A676073B24EB9A7384E7BF56686079E27B27                   02-05-   Tushy     07-20-2018   09-05-2018   PA0002134598
       File Hash:                                                              2021
       14933E0910B60AF2E3929652EA75A2557D35397916823CC0D76B623CECFEAD2B    13:11:45
50     Info Hash: 3D04CB0CE738558A4622603B3D95E3CC65FA5DA4                   01-29-   Blacked   01-25-2021   02-09-2021   PA0002276145
       File Hash:                                                              2021   Raw
       659ADF72BD7D1D3287E75B65E5A79BF5D3296FB6625F0D71AB979FDFB525BD69    02:33:44
51     Info Hash: 8031B4A7A5CFCECBC796D4772440BFC5016C11AA                   01-26-   Blacked   06-24-2018   07-26-2018   PA0002112154
       File Hash:                                                              2021
       6BC6E1D6C35FB48E06C6A8D7BBF0DF2769A8B15B04C14B904550055F04219187    13:20:34
52     Info Hash: 7AD634DDF39D6C357029F9B8DA853344A9154CA3                   01-25-   Blacked   01-23-2021   02-09-2021   PA0002276146
       File Hash:                                                              2021
       ABD1CF9BE94C07E7BA99AD39BA2A1F827B3E71F1677F7CFC5C5731EEFFC66D57    10:34:44
53     Info Hash: A4E4EB589C6670EA637881D600C170F2C895A43F                   01-12-   Tushy     01-10-2021   02-09-2021   PA0002276153
       File Hash:                                                              2021
       EB9E17DAE379436C5C320B4F6D686051E5E07DE9C5FF77B54FDDE8BF45A4900A    12:55:30
54     Info Hash: 592CC90904C53EF2703DB9CFE9C4184C72214506                   01-07-   Blacked   01-02-2021   01-05-2021   PA0002269954
       File Hash:                                                              2021
       23D54B2543E07A11C8AE2914890F822A39159C9D5F9AD4C7BD1A1703C95626AB    13:58:37
55     Info Hash: EB618CE41F176F9BB4820A6C7C959D22B86E4E01                   01-07-   Blacked   01-04-2021   02-02-2021   PA0002280514
       File Hash:                                                              2021   Raw
       E9A54ECAA7C0608DB489172C0B2C8DCBF5928E8C3257F0CD962D675AF02F45B5    13:58:30
56     Info Hash: 1A26A196358C2C12445BC8122570365DEE727A70                   10-19-   Tushy     10-18-2020   11-05-2020   PA0002263388
       File Hash:                                                              2020
       A5E4E4AA26374FE74D4F62B1BBBF99AD26104A1B6A6CEEE59E75309D3022702E    01:32:26
57     Info Hash: FF2738464090D606206D0608A050F0BA3D10E1A9                   10-04-   Blacked   10-03-2020   10-22-2020   PA0002261803
       File Hash:                                                              2020
       ADDC73912EE777EB7455915C5BAD3A332E1F6EA951019C2EA1284BE0F356CE0C    01:43:05
58     Info Hash: 92FCEC5F528AB1D27B01FBC0E4D1157C3AC17400                   09-19-   Vixen     09-18-2020   09-29-2020   PA0002258680
       File Hash:                                                              2020
       C82F38BBF86C7553B2028C9457E35287A623F34DCCFD5A55E9C4679D4D7BD2B1    01:04:38
59     Info Hash: 979CD4F798E6D0277F211C43B2DEAD821781AAB7                   09-07-   Blacked   09-05-2020   09-29-2020   PA0002258686
       File Hash:                                                              2020
       E4EF4298821183831E08081314D570BF54150A02DA0ADFFD61F03A99A9653C34    01:32:56
                    Case No. 1:23-cv-00967-CMA-MEH Document 1-2 filed 04/18/23 USDC Colorado pg 6 of 6


Work   Hashes                                                             UTC         Site      Published    Registered   Registration
60     Info Hash: 4F3CAA9D7D8185F294DFF09E8276BDEC62D8A41C                   09-01-   Blacked   08-31-2020   09-05-2020   PA0002255473
       File Hash:                                                              2020   Raw
       919E33445946B2E47A9223CBBA2E2666E8F11A358771039219D7B4160EB14A31    01:54:56
61     Info Hash: 8C0450560F9B89D6FC85B8D65FC2A45F85BEB391                   08-17-   Tushy     08-16-2020   08-18-2020   PA0002253098
       File Hash:                                                              2020
       D51FF4DFDC04263DDA8DDDF1C9E02997D3C0193D83460492DD9D0589FEE5B727    07:54:31
62     Info Hash: 7F06F0E07A10143EB2C8673FADA7B21358A4AB2D                   08-16-   Blacked   12-01-2019   12-17-2019   PA0002217663
       File Hash:                                                              2020
       8730E641DB888136CD4E9A1EA37C129852A6999082620E5C071F489A6055E333    15:12:49
63     Info Hash: B601C2302FC3C04B9419795ACBFBD9349D07FA30                   08-08-   Tushy     08-02-2020   08-31-2020   PA0002265633
       File Hash:                                                              2020
       B939C53D7E04DFB66462AEED22D13202BCB1DE4109A9AF5A52FCA73E9B9A945B    01:00:46
64     Info Hash: 857ECD8EC13C207984FDF9ED1AAB188B50013F5C                   08-05-   Blacked   08-01-2020   08-11-2020   PA0002252255
       File Hash:                                                              2020
       6A533C195A378EE2E2EEB458DF0433215FE1763F06885E4D646A316928808046    11:43:30
65     Info Hash: 37BBF4B3BBD911460EEA7065A691494A1860C65D                   07-25-   Vixen     07-24-2020   08-03-2020   PA0002259166
       File Hash:                                                              2020
       C7610656C831F4141B67EB2AE560AE0FBF59FE9B8E29DA44C8E6BECF3D9D80CF    12:03:29
66     Info Hash: 93AC77760BE262244F8C30B7A064ACFD0E95E6CE                   06-16-   Blacked   06-15-2020   07-17-2020   PA0002248596
       File Hash:                                                              2020   Raw
       FBAE5708BFF78E82C93645127539E317BF61BF277C83A6EFE162EE772C4C01B9    01:42:49
67     Info Hash: D5F4FB8FCDC46608550AC886C7AB2D47C52254F2                   06-09-   Blacked   06-08-2020   06-25-2020   PA0002255509
       File Hash:                                                              2020   Raw
       027F02F7A9D43E3B88A373666E52FDD7093112A0F5DA238075344F333F9B68E7    12:01:01
68     Info Hash: D953E392C297913CDBDFCE65BCF4DF39F6D492E1                   06-01-   Vixen     05-24-2019   07-17-2019   PA0002188303
       File Hash:                                                              2020
       0ED72D2222E7721033B25678879CBA2CBB194E14288295CB78F4A1D3B97268A3    12:32:00
69     Info Hash: 9E44731E8EC3B6FD476E0A33695303251A58C476                   05-24-   Blacked   05-23-2020   06-22-2020   PA0002245638
       File Hash:                                                              2020
       6E310240066A7148AF3E41F974E2DF798485CC20CD9169B21ACB3B29F1F08140    07:44:42
70     Info Hash: 6C446C346678513AA2E73F07FB90B7112EBE707F                   05-18-   Blacked   08-15-2019   09-17-2019   PA0002216211
       File Hash:                                                              2020   Raw
       249303FB0D18D0DC7C7EC04ADB7B8922578C4F9AF6A8CF6EE5DAE94EA3BFAD93    09:22:51
